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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                      MEMORANDUM

Honorable Anthony W. Ishii                     RE: Gregorio Olmos III
Senior United States District Judge                Docket Number: 1:10CR00080-002 DAD
Fresno, California                                 PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY

Your Honor:


Gregorio Olmos III is requesting permission to travel to Mexico (several stops via cruise). He is
current with all supervision obligations, and the probation officer recommends approval be
granted.


Conviction and Sentencing Date: On January 12, 2015, Gregorio Olmos III was sentenced for
the offense of 21 USC 843(b), Using Communication Facility to Facilitate the Commission of a
Felony.


Sentence Imposed:      48 months custody in the Bureau of Prisons; 12 months Supervised
Release; and $100 Special Assessment (paid).


Dates and Mode of Travel: The offender wants to travel from March 30, 2018, through April
2, 2018, via Carnival Cruise line.


Purpose: Vacation.




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                                                                                                 REV. 03/2017
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
      Case 1:10-cr-00080-DAD-BAM Document 186 Filed 03/22/18 Page 2 of 2
RE:      Gregorio Olmos III
         Docket Number: 1:10CR00080-002 DAD
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                    Respectfully submitted,

                                      Adrian Garcia
                                     ADRIAN GARCIA
                                United States Probation Officer

Dated:     March 21, 2018
           Fresno, California
           AG/dp


REVIEWED BY:                  /s/ Tim Mechem
                            TIM D. MECHEM
                            Supervising United States Probation Officer



                                 ORDER OF THE COURT

The Court orders:

         ☒Approved ☐ Disapproved



IT IS SO ORDERED.

   Dated:     March 22, 2018
                                                  UNITED STATES DISTRICT JUDGE




                                              2
                                                                                                 REV. 03/2017
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
